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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA
______________________________________________
                                              )
UNITED STATES OF AMERICA                      )
                                              )
                    Plaintiff,                )
v.                                            ) Civil Action No. 04-798 (PLF/GMH)
                                              )
ALL ASSETS HELD AT BANK JULIUS BAER & )
CO., LTD., GUERNSEY BRANCH, ACCOUNT           )
NUMBER 121128, IN THE NAME OF PAVLO           )
LAZARENKO, ET AL.                             )
                                              )
                    Defendants In Rem.        )
______________________________________________)

                                         SCHEDULING ORDER

        Pursuant to an order entered on July 11, 2019 (ECF No. 1185), the deadline for the government to

file its ex parte, classified brief directed to the so-called “CIPA File” and to file a redacted public version

of the brief was August 5, 2019, and a status conference regarding that public filing was to be held on

September 3, 2019. At the request of the government and with the claimants’ consent, the undersigned

extended the due date for the briefs until September 12, 2019. ECF Nos. 1199, 1201. The parties have

now filed a joint motion seeking to adjourn the status conference until a date in October 2019. ECF No.

1202. It is therefore

        ORDERED that the parties’ joint motion for an extension of time to hold the status conference

regarding the CIPA brief is GRANTED. It is further

        ORDERED that the status conference is ADJOURNED from September 3, 2019 to October 1,

2019, at 11:00 a.m. in Courtroom 6 before the undersigned.

        SO ORDERED.
                                                                     Digitally signed by G.
                                                                     Michael Harvey
                                                                     Date: 2019.08.06
Dated: August 6, 2019                              ___________________________________
                                                                     08:19:57 -04'00'
                                                   G. MICHAEL HARVEY
                                                   UNITED STATES MAGISTRATE JUDGE
